Case 8:12-cr-00205-SDM-SPF Document 960 Filed 07/12/16 Page 1 of 3 PageID 4757




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

 UNITED STATES OF AMERICA,

 v.         CASE NO. 8:12-CR-205-T-17MAP

 ANGEL VILLANUEVA, et al.

                                    /


                                          ORDER


       This cause is before the Court on:

        Dkt. 814      Motion in Limine (Nathaniel Harris)
        Dkt. 859      Response
        Dkt. 915      Order

        On July 11, 2016, and July 12, 2016, the Court took a proffer of the testimony of
 the Government’s witness, Detective Steve Ives.


       After the proffer, the Court heard oral argument on Defendant Nathaniel Harris’s
 Motion in Limine, which was limited to alleged illegal seizure of the cell phones. Oral
 argument was not directed to any issue of unfair prejudice.


        Defendant Nathaniel Harris argued that the two cell phones were illegally seized
 at the time of Defendant Harris’s arrest on November 3, 2010. Defendant Harris
 argued that the only basis for the seizure of the two cell phones was Manatee County’s
 suspicion that the cell phones might be relevant to an investigation, and that once the
 cell phones were released to the Property Room, there is no evidence that Manatee
 County attempted to contact Defendant Harris to notify him that Defendant Harris could
 retrieve the two cell phones. In the Motion, Defendant Harris argued that Defendant
 Harris quickly bonded out of jail, but, despite various efforts by Defendant Harris to
 retrieve the phones, law enforcement did not return them, thereby illegally seizing the
Case 8:12-cr-00205-SDM-SPF Document 960 Filed 07/12/16 Page 2 of 3 PageID 4758




 Case No. 8:12-CR-205-T-17MAP

 phones. Defendant Harris argued that the search warrant executed years later did not
 legitimize the seizure of the two cell phones, and the failure to return the phones to
 Defendant Nathaniel Harris. Defendant Harris argued that the absence of formal notice
 to Defendant Harris justifies exclusion of the contents of the two cell phones (texts and
 photographs).


        The Government responded that the two cell phones were lawfully seized.
 Defendant Harris was arrested on November 3, 2010, and Defendant’s car was
 impounded. The Government argued that Manatee County, upon determining that
 there was no probable cause to search the two cell phones, released the two cell
 phones to the Property Room. This was shown by the Property Receipt and the email
 of November 5, 2010 to the Property Room. The Government argued that there is no
 record of any request by Defendant Harris to retrieve his property; the only documented
 request is ATF’s request for the cell phones, incident to ATF’s execution of the search
 warrant obtained years later. The Government argued that where the two cell phones
 happened to be at the time of the execution of the lawful search warrant, which was
 supported by probable cause, was irrelevant.


        After consideration, the Court determined that, even if the Court assumed that
 there was no proper basis to seize the two cell phones at the time of Defendant Harris’s
 arrest, Manatee County soon determined that Manatee County had no basis to keep
 the cell phones, and followed its procedures. The procedure to return property to its
 owner was that the Property Room Clerk would notify the owner via the contact
 information provided on the Property Receipt. Manatee County sent the two cell
 phones to the Property Room, from which Defendant Harris could have retrieved them.
 In effect, Manatee County abandoned the two cell phones to the Property Room, where
 they remained. Two years passed. Federal authorities then obtained a search
 warrant pursuant to legitimate authorization.


                                              2
Case 8:12-cr-00205-SDM-SPF Document 960 Filed 07/12/16 Page 3 of 3 PageID 4759




 Case No. 8:12-CR-205-T-17MAP

         The Court determined that the U.S. Attorney’s Office and agents were not at
 fault, and what, if any, action Defendant Harris may have taken against Manatee
 County is a separate matter. The Court overruled the objection of Defendant Nathaniel
 Harris to the admission of texts and photographs from the two cell phones.
 Accordingly, it is


         ORDERED that the renewed Motion in Limine of Defendant Nathaniel Harris
 (Dkt. 814) based on the proffer of the testimony of Detective Steve Ives is denied.




         DONE and ORDERED in Chambers in Tampa, Florida on this X ^ dav of July,
 2016.




                                             3
